                                                         Case No. 3:20-MJ-   _\_\_Jft_·
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                                           AFFIDAVIT

1.       I, Brandon A. Glover, being duly sworn, state the following information to be true to the

best of my knowledge, information and belief:



                                        INTRODUCTION

2.       This affidavit is being offered in support of an Application for a Search Warrant to search

the person of Jeromon Don Lawery, hereinafter referred to as "LAWERY," described as a black

male, date of birth (DOB) October 4, 1983, Social Security Account Number (SSAN) XXX-XX-

2292, FBI Number 151791AC2, currently incarcerated at the Knox County Sheriffs Office

(KCSO) Detention Facility, 5001 Maloneyville Road, Knoxville, Tennessee 37918, for the

seizure ofbuccal cells (cheek epithelial cells) containing the DNA of LAWERY, which

constitutes evidence of the commission ofcriminal offenses, in violation of Title 18, United

States Code, Section 2119- Carjacking; Title 18, United States Code, Section 924(c)(l)(A)-

K.nowingly use, carry, and brandish a firearm during and in relation to a crime of violence; and

Title 18, United States Code, Section 922(g)(l) - Felon in possession of firearm and

ammunition.

                        AGENT BACKGROUND AND EXPERIENCE

3.       I am a Task Force Officer (TFO) with the Federal Bureau ofinvestigation (FBI) and have

been so employed since March, 2015. I am currently assigned to the Knoxville Field Office of

the FBI. I was previously assigned to the Appalachia High Intensity Drug Trafficking Area

(HIDTA) Task Force for approximately four years. Currently, I am assigned as a TFO with the


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FBI Knoxville Violent Crimes Squad/Safe Streets Task Force (SSTF). My primary duties and

responsibilities as FBI TFO involve the investigation of violations of federal law including

violent crime as found in Title 18 of the United States Code, and the Controlled Substances Act

as found in Title 21 of the United States Code.   I am a sworn police officer for the City of

Knoxville, Tennessee, and have been so employed since October 18, 2004. I am currently an

Investigator with the Knoxville Police Department's (KPD) Organized Crime Unit (OCU) and

have served in this capacity since approximately 2012. During my tenure as a FBI Task Force

Officer and KPD Police Officer and Investigator, I have investigated numerous crimes including,

but not limited to: illegal narcotics trafficking, prescription drug fraud and forgery, gangs and

organized crime, money laundering, burglary, robbery, carjacking, kidnapping, fugitive

violations, and weapons violations. More specifically, I have conducted physical surveillance,

executed search warrants, analyzed phone and internet records, and arrested criminal suspects. I

have also spoken to confidential human sources, suspects, defendants, witnesses, and other

experienced investigators concerning the methods and practices of the criminal element. Also,

throughout my tenure as a law enforcement officer, I have attended multiple training

opportunities on topics such as interview and interrogation techniques, arrest procedures,

evidence collection, search and seizure, search warrant applications, narcotics identification and

detection, lawful interception of communications, gang investigations, violent crime

investigations, and identification of armed persons (this list is non-exhaustive, as the amount of

training I have received both in the field and in a classroom setting is extensive). I am an

"Investigative or Law Enforcement Officer" within the meaning of Section 2510(7) of Title 18,

United States Code; that is, an officer of the United States who is empowered by law to conduct




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investigations of, and to make arrests for, offenses enumerated in Section 2516 of Title 18,

United States Code.

4.       Except as noted, all of the information contained in this affidavit is either known to me

personally or has been told to me by other law enforcement officials. As this affidavit is being

submitted for the limited purpose of securing buccal cells (cheek epithelial cells) containing the

DNA of LA WERY, I have not included each and every fact known about this investigation.

5.       I certify that the FBI is conducting a criminal investigation involving violations of federal

laws, including Title 18, United States Code, Section 2119 - Carjacking; Title 18, United States

Code, Section 924( c)(1 )(A) - Knowingly use, carry, and brandish a firearm during and in

relation to a crime of violence; and Title 18, United States Code, Section 922(g)(l)-Felon in

possession of firearm and ammunition.

                                        APPLICABLE LAW

6.       Title 18, U.S.C. § 2119 punishes whoever, with the intent to cause death or serious bodily

harm takes a motor vehicle that has been transported, shipped, or received in interstate or foreign

commerce from the person or presence of another by force and violence or by intimidation, or

attempts to do so.

7.       Title 18, U.S.C. § 924(c)(l)(A) punishes any person who, during and in relation to any

crime of violence for which the person may be prosecuted in a court of the United States, uses or

carries a firearm, or who, in furtherance of any such crime, possesses a firearm.

8.       Title 18, U.S.C. § 922(g)(l) punishes any person who has been convicted in any court of,

a crime punishable by imprisonment for a term exceeding one year, who possesses a firearm that

has been transported, shipped, or received in interstate commerce.




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                                      PROBABLE CAUSE

9.       On August 22, 2020, at approximately 1: 15 a.m., a black male, hereinafter refened to as

"ROBBER," approached the victim, who was seated in the driver's seat of his parked, white,

2014 HONDA ACCORD sedan (TN license plate 8H6-2H0) in the parking lot of The Heights of

Knoxville apartment complex located at 1319 Knotty Pine Way in Knoxville, Tennessee. The

victim, whose identity is known to law enforcement, described the ROBBER as a light-skinned,

black male, who was armed with a handgun. The ROBBER pointed the handgun at the victim's

side and instructed the victim to move over from the driver's seat of the vehicle. The victim was

forced to remove his pants and exit the vehicle. The ROBBER fled from the scene in the

victim's white, 2014 HONDA ACCORD sedan (TN license plate 8H6-2H0). Contained within

the vehicle were numerous property items that belonged to the victim including, two (2) semi-

automatic Glock handguns, an Apple iPhone, an Apple iPad, and an Apple laptop computer.

10.      Shortly after the incident, officers with KPD were dispatched to 1319 Knotty Pine Way

to make contact with the victim and conduct a preliminary investigation. The victim was able to

use a friend's electronic device to log into his (victim's) Apple account and access the "Find My

iPhone" iOS app, which led to the recovery of the victim's phone on the roadside near the

intersection of Council Place and Sevier A venue in Knoxville, Tennessee. After returning home

to his residence, the victim canceled his credit cards and went to sleep.

11.      During the morning of August 22, 2020, the victim contacted Knox County E-911 via

telephone and informed the call processor that an unknown person attempted to use his credit

card, which was previously deactivated, at the Exxon gas station located at 2901 Whittle Springs

Road in Knoxville, Tennessee, at on the aforementioned date. Additionally, the victim advised

the Knox County E-911 call processor that he used the "Find My iPhone" iOS app to track his



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iPad to a residence located at or near 3610 Lyons Way in Knoxville, Tennessee. The Exxon

located at 2901 Whittle Springs Road is approximately 1.5 miles away from Meadowbrook

Apartments located at 3610 Lyons Way in Knoxville, Tennessee.

12.     On August 22, 2020, at approximately 11 :37 a.m., KPD officers were dispatched to 3610

Lyons Way in Knoxville, Tennessee. Upon his arrival at the scene, KPD Lt. Gordon Gwathney

observed a black male subject seated inside a white HONDA ACCORD sedan. He observed a

second subject, later identified as Desmond Anthony Benford, date of birth (DOB) August 11,

1981, Social Security Account Number (SSAN) XXX-:XX-8266, residing at 3610 Lyons Way,

Apartment 1304, Knoxville, Tennessee 37917, hereinafter referred to as "BENFORD," standing

in close proximity to the white HONDA ACCORD sedan. The subject seated in the white

HONDA ACCORD sedan then exited the vehicle and fled on foot. A KPD K-9 officer aITived

on the scene to assist with the search for the subject. The subject was apprehended by KPD

officers with the assistance of the K-9.

13.    During their preliminary investigation at the scene, KPD officers were able to determine

that the vehicle occupied by the black male subject was the same white, 2014 HONDA

ACCORD sedan that belonged to the victim of the carjacking from 1319 Knotty Pine Way.

Additionally, officers identified the black male subject, who exited the white HONDA ACCORD

sedan .and fled on foot, as LAWERY.

14.    A search of the victim's white, 2014 HONDA ACCORD sedan revealed a black

backpack with a Tennessee Titans logo, which was located on the backseat of the vehicle. The

backpack contained a navy blue ski mask, burglary tools, a wallet containing LAWERY's

Tennessee driver's license, and a Glock 43x semi-automatic handgun. The Glock 43x, semi-

automatic handgun belonged to the victim. It was located in a plastic case underneath the front



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passenger seat of the victim's white, 2014 HONDA ACCORD sedan at the time of the

carjacking. The victim's stolen Apple iPad and Apple laptop computer were located inside of

the trunk of the vehicle. The victim's Glock 42, semi-automatic handgun was recovered in a

storage tray located underneath the center stack of the victim's vehicle.

15.    A KPD Forensics Unit Technician was dispatched to process the vehicle and document

the recovery of evidence. A KPD Forensics Unit Technician took numerous photographs and

swabbed paiis of the interior of the victim's vehicle for the presence of human DNA. A red,

Tennessee Auto Dealer license plate (34Dl 17) was affixed to rem· trunk lid of.the victim's

vehicle.

16.    KPD Violent Crimes Unit (VCU) Investigator Brandon Wardlaw responded to the

parking lot of 3610 Lyons Way in Knoxville, Tennessee. The victim also arrived at the parking

lot of 3610 Lyons Way in Knoxville, Tennessee. During the investigation, KPD Investigator

Wardlaw provided the victim with a photo line-up. The victim successfully identified LA WERY

as the subject who stole his (victim's) white, 2014 HONDA ACCORD sedan.

17.    BENFORD, who was detained by KPD Officer Nicolas Feno, was found to be in

possession of a semi-automatic handgun and a quantity of marijuana, consented to a search of his

residence located at 3610 Lyons Way, Apartment 1304, Knoxville, Tennessee 37917.

BENFORD is the lessee of the apartment. BENFORD told KPD officers that LAWERY had

been staying with him at the apartment for approximately two weeks. During the consent search,

officers recovered several items that belonged to the victim including: a backpack, luggage,

clothing, an American Airlines plane ticket with the victim's name on it, a Tennessee license

plate (8H6-2H0), which is registered to the victim's vehicle, a black, Hi-Point model C9 9mm

semi-automatic handgun with serial number P1254395, and a black Stoeger model M3000



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shotgun, serial number 1524570, with a "sawed-off' banel. The aforementioned Hi-Point model

C9 semi-automatic handgun and Stoeger model M3000 shotgun were located in a room of the

apartment where LAWERY was staying, according to BENFORD. Additionally, BENFORD

informed KPD officers that the property and items in the room belonged to LAWERY.

18.    A KPD Forensics Technician also took numerous photographs of the victim's property,

which was recovered inside ofBENFORD's residence. Additionally, the black, Hi-Point model

C9 9mm semi-automatic handgun with serial number Pl 254395, and black Stoeger model

M3000 shotgun, serial number 1524570, with a "sawed-off' banel were swabbed for the

presence of human DNA.

19.    On August 24, 2020, FBI Special Agent (SA) Wesley P. Leatham conducted a Vehicle

Identification Number (VIN) decoder inquiry of the VIN assigned to the HONDA ACCORD on

the United States Department of Transportation (USDOT) National Highway Traffic Safety

Administration (NHTSA) website, which listed the vehicle's manufacturing plant as Marysville,

Ohio, United States.

20.    A review ofLAWERY'S NCIC Criminal History revealed that he was previously

convicted of a crime punishable by imprisonment for a term exceeding one year.

                                        CONCLUSION

21.    Based upon the foregoing, there is probable cause to believe that a DNA sample from

LAWERY will contain evidence of the commission of a criminal offense, in violation of Title

18, United States Code, Section 2119- Carjacking; Title 18, United States Code, Section

924(c)(l)(A)- Knowingly use, cany, and brandish a firearm during and in relation to a crime of

violence; and Title 18, United States Code, Section 922(g)(l) - Felon in possession of firearm

and ammunition. The DNA sample collected from LAWERY pursuant to this search warrant



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   will be sent to the FBI Laboratory DNA Casework Unit in Quantico, Virginia, and used for

   comparison to any DNA sample contained on the aforementioned swabs collected by the KPD

   Forensics Unit from the interior of the HONDA ACCORD and/or from the black, Hi-Point

   model C9 9mm semi-automatic handgun with serial number Pl 254395, and black Stoeger model

   M3000 shotgun, serial number 1524570, with a "sawed-off' barrel. As such, I request that a

   Search Wan·ant be issued for a search of LAWERY'S person for the seizure ofbuccal cells

   (cheek epithelial cells) containing the DNA of LAWERY.



   FURTHER AFFIANT SAYETH NAUGHT.


    lf-»,,,,_,L,
   BRANDON A. GLOVER
                      4.    &i:-
   Task Force Officer
   Federal Bureau of Investigation


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   on this _J_
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